Case 3:19-cv-06601-BRM-TJB Document 1 Filed 02/22/19 Page 1 of 13 PageID: 1



Bruce D. Greenberg
LITE DEPALMA GREENBERG, LLC
570 Broad Street, Suite 1201
Newark, NJ 07102
Telephone: (973) 623-3000
Facsimile: (973) 623-0858
bgreenberg@litedepalma.com

Attorneys for Plaintiff
[Additional counsel on signature page]


                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

 DEBENDRA SHARMA, Individually and on               Civil Action No.
 Behalf of All Others Similarly Situated,
                                                    CLASS ACTION
                Plaintiff,
                                                    COMPLAINT FOR VIOLATION OF THE
         v.                                         FEDERAL SECURITIES LAWS

 AMARIN CORPORATION PLC, JOHN F.                    DEMAND FOR JURY TRIAL
 THERO, and STEVEN KETCHUM,

                Defendants.


                              INTRODUCTION AND OVERVIEW

       1.      This is a class action for violations of the anti-fraud provisions of the federal

securities laws on behalf of all purchasers of the publicly traded securities of Amarin Corporation

plc (“Amarin” or the “Company”) between September 24, 2018 and November 9, 2018 (the “Class

Period”), who were damaged thereby.

       2.      Amarin is a biotechnology company. During the Class Period, Defendants made

false and misleading statements about a clinical trial of a drug called Vascepa intended to treat

cardiovascular disease. Specifically, Defendants issued a press release stating that the study, called

REDUCE-IT, had shown a 25% relative risk reduction for patients taking Vascepa.
Case 3:19-cv-06601-BRM-TJB Document 1 Filed 02/22/19 Page 2 of 13 PageID: 2



       3.      As a result of these statements, the price of Amarin’s securities increased from

$2.99 to $12.40 the next trading day, an increase of more than 414%. This increase was a result

of the artificial inflation caused by Defendants’ misleading statements.

       4.      Subsequently, certain scientists who had participated in the REDUCE–IT trials

presented the full results of the study at the Scientific Sessions of the American Heart Association

on November 10, 2018 in Chicago, Illinois. Those results showed for the first time that the placebo

given to patients in the REDUCE-IT study, mineral oil, may have caused cardiovascular problems

in the patients taking it. In other words, instead of Vascepa lowering the rate of cardiovascular

problems, the placebo used in REDUCE-IT may have increased them.

       5.      As a result of this disclosure, the price of Amarin’s securities dropped from $21.05

to $15.38 in two trading days, a decrease of 27%. This decrease was a result of the artificial

inflation caused by Defendants’ misleading statements coming out of the price.

                                JURISDICTION AND VENUE

       6.      The claims asserted arise under Sections 10(b) and 20(a) of the Securities Exchange

Act of 1934 (“1934 Act”) and Rule 10b-5. Jurisdiction is conferred by Section 27 of the 1934 Act.

Venue is proper pursuant to Section 27 of the 1934 Act. Amarin’s headquarters are located in this

District, false statements were made in this District, and acts giving rise to the violations

complained of occurred in this District.

                                           THE PARTIES

       7.      Plaintiff Debendra Sharma purchased Amarin securities during the Class Period as

set forth in the attached certification and was damaged thereby. He resides at 21404 54th Drive S.,

Boca Raton, Florida 33486.

       8.      Defendant Amarin is a biotechnology company with its headquarters located in

Dublin, Ireland and its U.S. office is located at 1430 Route 206, Bedminster, New Jersey 07921.


                                                 2
Case 3:19-cv-06601-BRM-TJB Document 1 Filed 02/22/19 Page 3 of 13 PageID: 3



Amarin’s common stock is traded under the symbol AMRN on the NASDAQ, which is an efficient

market.

       9.     Defendant John F. Thero was, at all relevant times, President and Chief Executive

Officer (“CEO”) of the Company.

       10.    Defendant Steven Ketchum, PhD, was, at all relevant times, President of Research

and Development and Chief Scientific Officer of the Company.

                               PRE-CLASS PERIOD EVENTS

       11.    The REDUCE-IT cardiovascular outcomes study commenced in 2011. It enrolled

and followed 8,179 randomized patients, and was conducted based on a special protocol

assessment agreement with FDA.

       12.    REDUCE-IT was the first global cardiovascular outcomes study to prospectively

evaluate the effect of Vascepa, or any therapy, in adult patients with both LDL-cholesterol (LDL-

C) controlled to between 41-100 mg/dL (median baseline 75 mg/dL) by statin therapy and various

cardiovascular risk factors, including persistent elevated triglycerides (TGs) between 150-499

mg/dL (median baseline 216 mg/dL). In addition, the primary prevention cohort had diabetes

mellitus and at least one other cardiovascular risk factor, while the secondary prevention cohort

had established cardiovascular disease. The design of the REDUCE-IT cardiovascular outcomes

study was published in March 2017 in Clinical Cardiology4 and can be found in the R&D section

on the company’s website at www.amarincorp.com.

       13.    REDUCE-IT tested whether additional cardiovascular risk reduction beyond LDL-

C controlled with statin therapy could be achieved in high-risk patients with the putative

cardioprotective effects of 4 grams/day of Vascepa.




                                               3
Case 3:19-cv-06601-BRM-TJB Document 1 Filed 02/22/19 Page 4 of 13 PageID: 4



                             FALSE AND MISLEADING
                       STATEMENTS DURING THE CLASS PERIOD

        14.    On September 24, 2018, Amarin issued a press release that stated in relevant part:

        BEDMINSTER, N.J. and DUBLIN, Ireland, Sept. 24, 2018 (GLOBE NEWSWIRE) --
        Amarin Corporation plc (NASDAQ:AMRN), announced today topline results from the
        Vascepa® cardiovascular (CV) outcomes trial, REDUCE-IT™, a global study of 8,179
        statin-treated adults with elevated CV risk. REDUCE-IT met its primary endpoint
        demonstrating an approximately 25% relative risk reduction, to a high degree of statistical
        significance (p<0.001), in major adverse CV events (MACE) in the intent-to-treat patient
        population with use of Vascepa 4 grams/day as compared to placebo.

        Patients enrolled in REDUCE-IT had LDL-C between 41-100 mg/dL (median baseline
        LDL-C 75 mg/dL) controlled by statin therapy and various cardiovascular risk factors
        including persistent elevated triglycerides (TGs) between 150-499 mg/dL (median baseline
        216 mg/dL) and either established cardiovascular disease (secondary prevention cohort) or
        diabetes mellitus and at least one other CV risk factor (primary prevention cohort).

        Key topline results include:

        Efficacy: Approximately 25% relative risk reduction, demonstrated to a high degree of
        statistical significance (p<0.001), in the primary endpoint composite of the first occurrence
        of MACE, including cardiovascular death, nonfatal myocardial infarction (MI), nonfatal
        stroke, coronary revascularization, or unstable angina requiring hospitalization. This result
        was supported by robust demonstrations of efficacy across multiple secondary endpoints.

        Safety: Vascepa was well tolerated with a safety profile consistent with clinical experience
        associated with omega-3 fatty acids and current FDA-approved labeling. The proportions
        of patients experiencing adverse events and serious adverse events in REDUCE-IT were
        similar between the active and placebo treatment groups. Median follow-up time in
        REDUCE-IT was 4.9 years.

        15.    As a result of these statements, the price of Amarin’s securities increased from

$2.99 on Friday, September 21, to $12.40 on Monday, September 24, an increase of more than

414%.

        16.    On October 3, 2018, Defendant Thero spoke to investors at the Cantor Global

Healthcare Conference in New York City. During that presentation, Thero described the results

of the REDUCE-IT trial, stating in relevant part, “Our target had been 15% relative risk reduction,




                                                 4
Case 3:19-cv-06601-BRM-TJB Document 1 Filed 02/22/19 Page 5 of 13 PageID: 5



we achieved 25% relative risk reduction. And we did that with the p value which was statistically

significant p less than 0.001.”

       17.     On November 1, 2018, Defendants held a conference call with investors during

which Defendant Thero stated in relevant part:


       A recap of the-top [sic] line results we reported for REDUCE-IT study is as follows.
       Primary endpoint achieved with approximate 25% relative risk reduction in the composite
       of first occurrence of major adverse cardiovascular events known as MACE. The 25% is
       on top of LDL cholesterol controlled by statin therapy and REDUCE-IT patients.

       LDL cholesterol controlled by statin therapy is generally understood the [sic] lower
       cardiovascular risk by 25% to 35%. Our REDUCE-IT results add approximately 25%
       cardiovascular risk reduction on top of controlled LDL-C. The top-line risk reduction of
       approximately 25% was achieved to a high degree of statistical significance P less than
       0.001.

       18.     Defendants’ statements set forth above did not disclose that the placebo given to

patients in the control arm of REDUCE-IT may have increased the incidence of cardiovascular

events in those patients, thus making Vascepa appear more effective than it actually was.

                                    THE TRUTH EMERGES

       19.     On November 10, 2018, scientists that conducted the REDUCE-IT trial presented

the full results of that study at the Scientific Sessions of the American Heart Association in

Chicago, Illinois. In that presentation, the scientists disclosed for the first time “bad” LDL

cholesterol levels rose three percent in the Vascepa patients and ten percent in the placebo patients.

Other markers of blood fat were also higher in the placebo patients.

       20.     These data raised concerns that the mineral oil placebos might be interfering with

the background regimen of cholesterol-lowering statins that all the patients in the study were

taking. The 10 percent increase in LDL cholesterol might have led to more adverse cardiovascular

events among placebo patients.




                                                  5
 Case 3:19-cv-06601-BRM-TJB Document 1 Filed 02/22/19 Page 6 of 13 PageID: 6



        21.    As a result of these disclosures, the price of Amarin’s securities dropped from

$21.05 to $15.38 in two trading days, a decrease of 27%.

                           LOSS CAUSATION/ECONOMIC LOSS

        22.    During the Class Period, as detailed herein, Defendants made false and misleading

statements and engaged in a scheme to deceive the market. This artificially inflated the price of

Amarin’s securities and operated as a fraud or deceit on the Class. Later, when Defendants’ prior

misrepresentations and fraudulent conduct became apparent to the market, the price of Amarin’s

securities fell precipitously, as the prior artificial inflation came out of the price over time. As a

result of their purchases of Amarin securities during the Class Period, plaintiff and other members

of the Class suffered economic loss, i.e., damages, under the federal securities laws.

                                       NO SAFE HARBOR

        23.    Amarin’s verbal “Safe Harbor” warnings accompanying its oral forward-looking

statements (“FLS”) issued during the Class Period were ineffective to shield those statements from

liability.

        24.    The Defendants are also liable for any false or misleading FLS pleaded because, at

the time each FLS was made, the speaker knew the FLS was false or misleading and the FLS was

authorized and/or approved by an executive officer of Amarin who knew that the FLS was false.

None of the historic or present tense statements made by Defendants were assumptions underlying

or relating to any plan, projection or statement of future economic performance, as they were not

stated to be such assumptions underlying or relating to any projection or statement of future

economic performance when made, nor were any of the projections or forecasts made by

Defendants expressly related to or stated to be dependent on those historic or present tense

statements when made.




                                                  6
Case 3:19-cv-06601-BRM-TJB Document 1 Filed 02/22/19 Page 7 of 13 PageID: 7



                         APPLICABILITY OF PRESUMPTION OF
                         RELIANCE: FRAUD ON THE MARKET

       25.     Plaintiff will rely upon the presumption of reliance established by the fraud-on-the-

market doctrine in that, among other things:

               (a)    Defendants made public misrepresentations or failed to disclose material

facts during the Class Period;

               (b)    The omissions and misrepresentations were material;

               (c)    The Company’s securities traded in an efficient market;

               (d)    The misrepresentations alleged would tend to induce a reasonable investor

to misjudge the value of the Company’s securities; and

               (e)    Plaintiff and other members of the Class purchased Amarin securities

between the time Defendants misrepresented or failed to disclose material facts and the time the

true facts were disclosed, without knowledge of the misrepresented or omitted facts.

       26.     At all relevant times, the market for Amarin securities was efficient for the

following reasons, among others:

               (a)    As a regulated issuer, Amarin filed periodic public reports with the SEC;

and

               (b)    Amarin regularly communicated with public investors via established

market communication mechanisms, including through regular disseminations of press releases on

the major news wire services and through other wide-ranging public disclosures, such as

communications with the financial press, securities analysts and other similar reporting services.

                                 CLASS ACTION ALLEGATIONS

       27.     Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure on behalf of all persons who purchased the publicly traded securities of Amarin



                                                 7
Case 3:19-cv-06601-BRM-TJB Document 1 Filed 02/22/19 Page 8 of 13 PageID: 8



during the Class Period (the “Class”). Excluded from the Class are Defendants, directors and

officers of Amarin and their families and affiliates.

       28.     The members of the Class are so numerous that joinder of all members is

impracticable. The disposition of their claims in a class action will provide substantial benefits to

the parties and the Court. Amarin had more than 293 million shares outstanding, owned by

thousands of persons.

       29.     There is a well-defined community of interest in the questions of law and fact

involved in this case. Questions of law and fact common to the members of the Class which

predominate over questions which may affect individual Class members include:

               (a)      Whether Defendants violated the 1934 Act;

               (b)      Whether Defendants omitted and/or misrepresented material facts;

               (c)      Whether Defendants’ statements omitted material facts necessary in order

to make the statements made, in light of the circumstances under which they were made, not

misleading;

               (d)      Whether Defendants knew or recklessly disregarded that their statements

were false and misleading;

               (e)      Whether the prices of Amarin securities were artificially inflated; and

               (f)      The extent of damage sustained by Class members and the appropriate

measure of damages.

       30.     Plaintiff’s claims are typical of those of the Class because Plaintiff and the Class

sustained damages from Defendants’ wrongful conduct.




                                                  8
Case 3:19-cv-06601-BRM-TJB Document 1 Filed 02/22/19 Page 9 of 13 PageID: 9



       31.       Plaintiff will adequately protect the interests of the Class and has retained counsel

who are experienced in securities class actions. Plaintiff has no interests which conflict with those

of the Class.

       32.       A class action is superior to other available methods for the fair and efficient

adjudication of this controversy.

                                              COUNT I

                              For Violation of §10(b) of the 1934 Act
                              and Rule 10b-5 Against All Defendants

       33.       Plaintiff incorporates the paragraphs above by reference.

       34.       During the Class Period, Defendants disseminated or approved the false or

misleading statements specified above. Defendants knew or recklessly disregarded that these

statements were false or misleading. The statements contained misrepresentations and failed to

disclose material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading.

       35.       Defendants violated Section 10(b) of the 1934 Act and Rule 10b-5 in that they:

                 (a)    Employed devices, schemes, and artifices to defraud;

                 (b)    Made untrue statements of material facts or omitted material facts necessary

in order to make the statements, in light of the circumstances under which they were made, not

misleading; or

                 (c)    Engaged in acts, practices, and a course of business that operated as a fraud

or deceit upon Plaintiff and others similarly situated in connection with their purchases of Amarin

securities during the Class Period.

       36.       Defendants’ statements set forth above were materially false and misleading

because they did not disclose that the placebo given to patients in the control arm of REDUCE-IT



                                                   9
Case 3:19-cv-06601-BRM-TJB Document 1 Filed 02/22/19 Page 10 of 13 PageID: 10



may have increased the incidence of cardiovascular events in those patients, thus making Vascepa

appear more effective than it actually was.

       37.     Defendants had both the motive and opportunity to conduct fraud. They also had

actual knowledge of the false or misleading nature of the statements they made or acted in reckless

disregard of the false or misleading nature of the statements. In so doing, Defendants participated

in a scheme to defraud, and committed acts and participated in a course of business that operated

as a fraud or deceit on purchasers of Amarin securities during the Class Period.

       38.     Plaintiff and the Class have suffered damages in that, in reliance on the integrity of

the market, they paid artificially inflated prices for Amarin securities. Plaintiff and the Class would

not have purchased Amarin securities at the prices they paid, or at all, if they had been aware that

the market prices had been artificially inflated by Defendants’ false or misleading statements.

       39.     As a result of these disclosures, the price of Amarin’s securities dropped from

$21.05 to $15.38 in two trading days, a decrease of 27%. This decrease in the price of Amarin’s

securities was a result of the artificial inflation caused by Defendants’ misleading statements

coming out of the price.

       40.     As a direct and proximate result of these Defendants’ wrongful conduct, Plaintiff

and the other members of the Class suffered damages in connection with their purchases of Amarin

securities during the Class Period.

                                              COUNT II

             For Violation of Section 20(a) of the 1934 Act Against All Defendants

       41.     Plaintiff incorporates the paragraphs above by reference.

       42.     Defendants Thero and Ketchum acted as controlling persons of Amarin within the

meaning of Section 20 of the 1934 Act. By virtue of their positions and their power to control

public statements about Amarin, Defendants Thero and Ketchum had the power and ability to


                                                  10
Case 3:19-cv-06601-BRM-TJB Document 1 Filed 02/22/19 Page 11 of 13 PageID: 11



control the actions of Amarin and its employees. Amarin controlled Defendants Thero and

Ketchum and its other officers and employees. By reason of such conduct, Defendants are liable

pursuant to Section 20(a) of the 1934 Act.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays for judgment as follows:

          A.     Declaring this action to be a proper class action pursuant to Fed. R. Civ. P. 23;

          B.     Awarding Plaintiff and the members of the Class damages and interest;

          C.     Awarding Plaintiff’s reasonable costs, including attorneys’ fees; and

          D.     Awarding such equitable/injunctive or other relief as the Court may deem just and

proper.

                                           JURY DEMAND

          Plaintiff demands a trial by jury.


Dated: February 22, 2019                       LITE DEPALMA GREENBERG, LLC

                                         By:   /s/ Bruce D. Greenberg
                                               Bruce D. Greenberg
                                               570 Broad Street, Suite 1201
                                               Newark, NJ 07102
                                               Telephone: (973) 623-3000
                                               Facsimile: (973) 623-0858
                                               bgreenberg@litedepalma.com

                                               Eric H. Gibbs (pro hac vice forthcoming)
                                               David Stein (pro hac vice forthcoming)
                                               John A. Kehoe (pro hac vice forthcoming)
                                               Amanda M. Karl (pro hac vice forthcoming)
                                               GIBBS LAW GROUP LLP
                                               ehg@classlawgroup.com
                                               ds@classlawgroup.com
                                               jak@classlawgroup.com
                                               amk@classlawgroup.com
                                               505 14th Street, Suite 1110
                                               Oakland, CA 94612-1406
                                               Telephone: (510) 350-9700


                                                  11
Case 3:19-cv-06601-BRM-TJB Document 1 Filed 02/22/19 Page 12 of 13 PageID: 12



                                   Facsimile: (510) 350-9701

                                   Counsel for Plaintiff




                                     12
Case 3:19-cv-06601-BRM-TJB Document 1 Filed 02/22/19 Page 13 of 13 PageID: 13



              CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2

       Plaintiff, by his attorneys, hereby certifies that to the best of his knowledge, the matter in

controversy is not related to any other action. Plaintiff is not currently aware of any other party

who should be joined in this action.

       I hereby certify that the foregoing statements made by me are true. I am aware that if any

of the foregoing statements made by me are willfully false, I am subject to punishment.


Dated: February 22, 2019                      LITE DEPALMA GREENBERG, LLC

                                       By:    /s/ Bruce D. Greenberg
                                              Bruce D. Greenberg
                                              570 Broad Street, Suite 1201
                                              Newark, NJ 07102
                                              Telephone: (973) 623-3000
                                              Facsimile: (973) 623-0858
                                              bgreenberg@litedepalma.com

                                              Eric H. Gibbs (pro hac vice forthcoming)
                                              David Stein (pro hac vice forthcoming)
                                              John A. Kehoe (pro hac vice forthcoming)
                                              Amanda M. Karl (pro hac vice forthcoming)
                                              GIBBS LAW GROUP LLP
                                              ehg@classlawgroup.com
                                              ds@classlawgroup.com
                                              jak@classlawgroup.com
                                              amk@classlawgroup.com
                                              505 14th Street, Suite 1110
                                              Oakland, CA 94612-1406
                                              Telephone: (510) 350-9700
                                              Facsimile: (510) 350-9701

                                              Counsel for Plaintiff




                                                 13
